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  4
      Counsel for Petitioning Creditors
  5
  6                            UNITED STATES BANKRUPTCY COURT
  7                             CENTRAL DISTRICT OF CALIFORNIA
  8                                       SANTA ANA DIVISION
  9
 10
      In re:                                     Case No. 8:24-bk-13017-TA
 11   LARRY RICHARD LAW,                         Chapter 7 Involuntary Proceeding
 12
 13                 Alleged Debtor.              STIPULATION TO CONTINUE STATUS
                                                 CONFERENCE RE INVOLUNTARY
 14                                              PETITION

 15
                                                 Current Status Conference:
 16
                                                 DATE:            March 25, 2025
 17                                              TIME:            10:30 a.m.
                                                 PLACE:           Courtroom 5B
 18                                                               411 West Fourth Street
                                                                  Santa Ana, CA 92701
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                                                   MAINDOCS-#277066-v2-Law_Stip_Continue_Status_Conference_Involuntary.docx
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  1   TO THE HONORABLE THEODOR ALBERT, UNITED STATES BANKRUPTCY
  2   JUDGE, AND PARTIES IN INTEREST:
  3          This Stipulation to Continue Status Conference Re Involuntary Petition (“Stipulation”) is
  4   entered into by and between Justin Law, the son and trustee (“Law Trustee”) for the estate of
  5   Larry Richard Law (“Alleged Debtor”) and the following petitioning creditors: Marianne
  6   Mackley, Sunder Nambiar, Stephen Lim and Donald Davis (collectively, “Petitioning
  7   Creditors”), by and through their respective counsel, with respect to the following facts and
  8   circumstances:
  9                                               RECITALS
 10          1.        On November 22, 2024, the Petitioning Creditors filed an involuntary petition
 11   pursuant to 11 U.S.C. § 303, against the Alleged Debtor, commencing the above-entitled Chapter
 12   7 involuntary bankruptcy case.
 13          2.        On or about January 28, 2025, the Alleged Debtor deceased. Justin Law is the
 14   son and trustee (“Law Trustee”) for the estate of the Alleged Debtor. The Law Trustee
 15   respectfully submits as follows:
 16               (a) The bankruptcy case may continue, notwithstanding the death of the Alleged
 17               Debtor, by operation of Federal Rule of Bankruptcy Procedure 1016, and that no
 18               formal substitution is required. “Rule 1016 permits a case to continue despite the
 19               death of the debtor without the formal substitution of another party for the debtor.
 20               *** Under Rule 1016, an appropriate representative of the debtor may act on behalf
 21               of the debtor without a formal substitution.” In re Kosinski, 2015 WL 1177691, at *3
 22               (Bankr.N.D.Ill. 2015). See also In re Fogel, 550 B.R. 532, 536 (D.Colo. 2015)
 23               (following Kosinski); In re Inyard, 532 B.R. 364, 367 (Bankr.D.Kan. 2015) (“Rule
 24               1016 does not require that another party be substituted for the debtor”).
 25               (b) “Rule 1016 carries out this congressional intent that the chapter 7 debtor’s probate
 26               estate should normally receive the benefit of the debtor’s exemptions and discharge,
 27               and that nonexempt property should be administered in the bankruptcy case.” 9
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  1               Collier on Bankruptcy ¶ 1016.02 (16th 2025).
  2               (c) As the son and trustee for the estate of the Alleged Debtor, the Law Trustee
  3               submits he is the most appropriate person to represent the interests of the Alleged
  4               Debtor in this proceeding. See e.g., In re Shorter, 544 B.R. 654, 661-62
  5               (Bankr.E.D.Ark. 2015) (determining that the person who may act on behalf of a
  6               deceased debtor is decided “on a case-by-case basis”); In re Fogel, 550 B.R. 532,
  7               535–36 (D.Colo. 2015) (determining deceased debtor’s spouse was “an appropriate
  8               representative of the debtor”). Courts have concluded that the appropriate person
  9               may include, but not limited to a probate administrator, executor, or personal
 10               representative, but holding that the determination is made on a case-by-case basis. In
 11               re Levy, 2014 WL 1323165, at *4 (Bankr.N.D.Ohio Mar. 31, 2014) (“Who can act
 12               must be determined case by case.”)
 13          3.       The Law Trustee is in contact with the Petitioning Creditors, and has agreed to
 14   certain informal requests to produce documents and other information to the Petitioning
 15   Creditors, which the parties anticipate will lead to the resolution and dismissal of the involuntary
 16   bankruptcy case.
 17          4.      The Law Trustee is in the process of compiling information and documents
 18   necessary for the administration of the Alleged Debtor’s probate estate, as well as the request of
 19   the Petition Creditors.
 20          5.      An initial status conference was set for January 21, 2025, and thereafter continued
 21   to February 4, 2025, and then March 25, 2025, at 10:30 a.m. A joint status report is due 14 days
 22   prior to the Status Conference.
 23          6.      In order to provide additional time to produce documents and resolve any
 24   outstanding issues, the parties request that the status conference be further continued along with
 25   the corresponding deadline to file a joint status report.
 26                                             STIPULATION
 27          NOW, THEREFORE, based upon the foregoing Recitals, the Parties hereby agree and
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                                 PROOF OF SERVICE OF DOCUMENT
  1   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
      business address is: 712 H St NE, Unit #8571, Washington, DC 20002
  2
      A true and correct copy of the foregoing document(s) entitled: STIPULATION TO CONTINUE
  3   STATUS CONFERENCE RE INVOLUNTARY PETITION will be served or was served (a)
      on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
  4   manner stated below:
  5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
      Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
  6   court via NEF and hyperlink to the document. On February 25, 2025, I checked the CM/ECF
  7   docket for this bankruptcy case or adversary proceeding and determined that the following
      persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
  8   stated below:
            Nico Banks nico@bankslawoffice.com
  9         United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 10
      2. SERVED BY UNITED STATES MAIL: On February __, 2025, I served the following
 11   persons and/or entities at the last known addresses in this bankruptcy case or adversary
 12   proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
      mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
 13   declaration that mailing to the judge will be completed no later than 24 hours after the document
      is filed.
 14
          Service information continued on attached page
 15   3. SERVED BY EMAIL (state method for each person or entity served): Pursuant to
 16   F.R.Civ.P. 5 and/or controlling LBR, on February __, 2025, I served the following persons
      and/or entities by personal delivery, overnight mail service, or (for those who consented in
 17   writing to such service method), by facsimile transmission and/or email as follows. Listing
      the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
 18   judge will be completed no later than 24 hours after the document is filed.
 19       Service information continued on attached page
      I declare under penalty of perjury under the laws of the United States that the foregoing is true
 20
      and correct.
 21     February 25, 2025       Nicolo E. Banks                       /s/ Nicolo E. Banks
        Date                   Printed Name                           Signature
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